Case 6:17-mj-00666-.]WF Document 10 Filed 02/

 

MICHAEL T. DIPRIMA ESQ.
Attorney and Counselor at Law’ FEB § 2 M

Jonathar§ W. »Feidman
40 Humboldt Street TelePh°neU'$§BWMaUMQE
Rochester, New York 14609 FacsianBSHBQJZ§-SSUW YG|'k

mdiprima@rochester.rr. com

February 6, 2018

Magistrate Jonathan Feldman
U.S. Distiict Court, WDNY
100 _State Street
Rochester,N.Y. 14614

Re: USA v. Roland Yockel II, Case No. 6:17MJ-00666-JWF
Dear Magistrate:

This letter confirms my request to adjourn Mr. Yockel’s case at the present time for a
period of approximately one month, as We are continuing our review of this case._

Therei`ore, on behalf of Mr. Yockel We hereby move for an adjournment as Well as to
exclude this time in the interest ofjustice.

As always, thank you for your courtesies and consideration

Very truly yours,

SOORDE`::§R/?mm mmanfemmdnlfh
- . . ld}°'llm¢d ' lt . dbf¢ndmf m
Mlcha€l T- DlPI'lm‘d, ESq- ama smu be ali inwzsg¢?m: under :s‘usc §
3161(h)(7)betwmntcdayandthedatewaleconferenoe.!findthat
the defendants and the public' s interest in w ~- ¢ y indictment/trial
areoutweighedbythedef ii t’sinteresti ngsuflicicnttimeto

   
 

.-:~_l'!'§"*"i gig""ir

